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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

 JESSE GUTHRIE, #M-29282,                  )
                                           )
               Plaintiff,                  )
                                           )
        -vs-                               )       No. 17-CV-1372-NJR
                                           )
 KIMBERLY BUTLER et al.,                   )
                                           )
               Defendants.                 )

                                         ANSWER

        NOW COME the Defendants, KIMBERLY BUTLER, JACQUELINE LASHBROOK

 (Official capacity only), and MONICA NIPPE, by and through their attorney, Lisa Madigan,

 Attorney General of the State of Illinois, and hereby file their Answer [Doc. 1], stating as

 follows:




 ANSWER: Defendants admit that allegations contained in this paragraph.




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 ANSWER: Defendants admit that Plaintiff has identified Kimberly Butler as a Defendant.
 Defendants admit that Butler was employed by IDOC as a Warden of Menard until
 September 30, 2016. Defendants deny that Butler is still employed by IDOC. Defendants
 deny any allegations in this paragraph that they violated Plaintiff’s rights and that
 Defendant Butler was the Warden of Menard during all relevant times to this Complaint.




 ANSWER:      Defendants admit that Plaintiff has identified Kent E. Brookman as a
 Defendant.   Pursuant to this Court’s Order entered on January 30, 2018, Defendant


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 Brookman has been dismissed from this action. Defendants lack knowledge or information
 sufficient to form a belief as to the truth of any remaining allegations contained in this
 paragraph.




 ANSWER: Defendants admit that Plaintiff has identified Kelly Pierce as a Defendant.
 Pursuant to this Court’s Order entered on January 30, 2018, Defendant Pierce has been
 dismissed from this action. Defendants lack knowledge or information sufficient to form a
 belief as to the truth of any remaining allegations contained in this paragraph.




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 ANSWER: Defendants admit Plaintiff has identified Monica Nippe as a Defendant in
 this action. Defendants admit that Nippe was employed as a counselor at Menard during
 the times relevant to the allegations in Plaintiff’s complaint. Defendants deny any
 allegations in this paragraph that they violated Plaintiff’s rights.




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 ANSWER: Defendants admit that Plaintiff has identified Jacqueline Lashbrook as a
 Defendant in this action. Defendants admit Lashbrook is currently employed by IDOC as
 the Warden of Menard Correctional Center. Defendants deny any allegations in this
 paragraph that they violated Plaintiff’s rights.




 ANSWER: Defendants admit Plaintiff has identified John Doe #1 as a Defendant in this
 action. Defendants lack knowledge or information sufficient to form a belief as to the truth
 of the remaining allegations contained in this paragraph.


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 ANSWER: Defendants admit Plaintiff has identified John Doe #2 as a Defendant in this
 action. Defendants lack knowledge or information sufficient to form a belief as to the truth
 of the remaining allegations contained in this paragraph.




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 ANSWER: Defendants admit Plaintiff has identified John Doe #3 as a Defendant in this
 action. Defendants lack knowledge or information sufficient to form a belief as to the truth
 of the remaining allegations contained in this paragraph.




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 ANSWER: Defendants lack knowledge or information sufficient to form a belief as to the
 truth of the allegations contained in this paragraph.




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 ANSWER:      Defendants deny the allegations contained in this paragraph.




 ANSWER:      Defendants deny the allegations contained in this paragraph.




 ANSWER:      Defendants deny the allegations contained in this paragraph.




 ANSWER: Defendants deny any allegations in this paragraph that they violated
 Plaintiff’s rights. Defendants Butler, Lashbrook, and Nippe admit that they acted under
 color of law in performing their duties as employees of the Illinois Department of
 Corrections.




 ANSWER: Defendants, per recorded documentation, admit the allegations contained in
 this paragraph.




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  ANSWER: Defendants admit that the cells located in the North 2 cell house are smaller
  in size than the cells in the East Cell House. Defendants deny that the size of the cells
  violated Plaintiff’s constitutional rights. Defendants also deny any allegations in this
  paragraph that Plaintiff was moved to a cell that was unfit for habitation. Defendants lack
  knowledge or information sufficient to form a belief as to the truth of the remaining
  allegations contained in this paragraph.




  ANSWER: Per the Court’s Order entered on January 30, 2018, the allegations contained
  in Count 1 of Plaintiff’s Complaint challenging the discipline Plaintiff received have been
  dismissed.

  With this order in mind, Defendants, per recorded documentation, admit that on May 23,
  2016, Plaintiff plead guilty to Dangerous Contraband.        Defendants, per recorded
  documentation, admit Brookman presided over the Adjustment Committee hearing.
  Defendants, per recorded documentation, admit Plaintiff received the discipline listed in
  this paragraph and that the discipline was made final on May 25, 2016. Defendants deny
  that Defendant Butler signed this discipline sheet.

  Defendants deny that Brockman is a Defendant in this action and deny Plaintiff has a claim
  related to the discipline Plaintiff received as a result of the May 20, 2016 ticket. Defendants
  deny violating Plaintiff’s rights. Defendants lack knowledge or information sufficient to
  form a belief as to the truth of any remaining allegations in this paragraph.




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  ANSWER: ANSWER: Per the Court’s Order entered on January 30, 2018, the
  allegations contained in Count 1 of Plaintiff’s Complaint challenging the discipline Plaintiff
  received have been dismissed.

  With this order in mind, Defendants, per recorded documentation, admit that Plaintiff
  filed a grievance challenging the discipline he received and that the grievance was received
  by his grievance officer on July 13, 2016. Defendants, per recorded documentation, admit
  that the grievance was denied. Defendants deny that Pierce is a Defendant in this Action.
  Defendants deny violating Plaintiff’s rights. Defendants lack knowledge or information
  sufficient to form a belief as to the truth of any remaining allegations in this paragraph.




  ANSWER: Per the Court’s Order entered on January 30, 2018, the allegations contained
  in Count 1 of Plaintiff’s Complaint challenging the discipline Plaintiff received have been
  dismissed. With this order in mind, Defendants lack knowledge or information sufficient
  to form a belief as to the truth of any allegations in this paragraph challenging the
  discipline Plaintiff received. Defendants deny any allegations in this paragraph that they
  violated Plaintiff’s rights.




  ANSWER: Defendants deny any allegations in this paragraph that they violated
  Plaintiff’s rights. Defendants lack knowledge or information sufficient to form a belief as
  to the truth of the remaining allegations in this paragraph.




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  ANSWER: Defendants deny any allegations in this paragraph that they violated
  Plaintiff’s rights. Defendants lack knowledge or information sufficient to form a belief as
  to the truth of the remaining allegations in this paragraph.




  ANSWER: Defendants deny any allegations in this paragraph that they violated
  Plaintiff’s rights. Defendants lack knowledge or information sufficient to form a belief as
  to the truth of the remaining allegations in this paragraph.




  ANSWER: Defendants Nippe denies the allegations contained in this paragraph.
  Defendants Butler and Lashbrook deny any allegations in this paragraph that they violated
  Plaintiff’s rights. Defendants lack knowledge or information sufficient to form a belief as
  to the truth of the remaining allegations in this paragraph.




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  ANSWER: Defendants deny any allegations in this paragraph that they violated
  Plaintiff’s rights. Defendants lack knowledge or information sufficient to form a belief as
  to the truth of the remaining allegations in this paragraph.




  ANSWER: Defendants deny any allegations in this paragraph that they violated
  Plaintiff’s rights. Defendants lack knowledge or information sufficient to form a belief as
  to the truth of the remaining allegations in this paragraph.




  ANSWER:       Defendants deny the allegations contained in this paragraph.




  ANSWER:       Defendants deny that Plaintiff filed a grievance.




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  ANSWER: Defendants deny that Brockman and Pierce are Defendants in this action.
  Defendants deny any allegations in this paragraph that they violated Plaintiff’s rights.
  Defendants lack knowledge or information sufficient to form a belief as to the truth of the
  remaining allegations in this paragraph.




  ANSWER: Defendants, per recorded documentation, admit that Plaintiff received a
  response from the Administrative Review Board, dated February 28, 2017, stating that
  “this office notes 1 year yard/gym restrictions was deleted.” Defendants lack knowledge or
  information sufficient to form a belief as to the truth of the remaining allegations in this
  paragraph.




  ANSWER: Defendants admit that Plaintiff was double celled during various times
  between May 20, 2016, and May 19, 2017. Defendants deny all remaining allegations in
  this paragraph.




  ANSWER:       Defendants deny the allegations contained in this paragraph.




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  ANSWER: Defendants, per recorded documentation, admit that Plaintiff was housed in
  cell 46 in North 2 from June 20, 2016, through December 23, 2016. Defendants deny any
  allegations in this paragraph that they violated Plaintiff’s rights or that Plaintiff’s cell was
  unfit for Plaintiff to live in. Defendants lack knowledge or information sufficient to form a
  belief as to the truth of the remaining allegations in this paragraph.




  ANSWER: Defendants, per recorded documentation, admit that Plaintiff was moved to
  cell 605 on December 23, 2016. Defendants deny any allegations in this paragraph that
  they violated Plaintiff’s rights or that Plaintiff’s cell was unfit for Plaintiff to live in.
  Defendants lack knowledge or information sufficient to form a belief as to the truth of the
  remaining allegations in this paragraph.




  ANSWER: Defendants deny any allegations in this paragraph that they violated
  Plaintiff’s rights or that Plaintiff’s cell was unfit for Plaintiff to live in. Defendants lack
  knowledge or information sufficient to form a belief as to the truth of the remaining
  allegations in this paragraph.




  ANSWER: Defendants deny any allegations in this paragraph that they violated Plaintiff’s
  rights. Defendants lack knowledge or information sufficient to form a belief as to the truth
  of the remaining allegations in this paragraph.




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  ANSWER: Defendants deny any allegations in this paragraph that they violated
  Plaintiff’s rights or that Plaintiff’s cell was unfit for Plaintiff to live in. Defendants lack
  knowledge or information sufficient to form a belief as to the truth of the remaining
  allegations in this paragraph.




  ANSWER:        Defendants deny the Plaintiff is entitled to any relief whatsoever.




  Defendants request a trial by jury.

  AFFIRMATIVE DEFENSES

         A.      Qualified Immunity

         At all times relevant to Plaintiff’s claims, the Defendants acted in good faith in the

  performance of their official duties without violating clearly established constitutional rights.

  Defendants are protected from liability by the doctrine of qualified immunity.




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         B.      Eleventh Amendment

         The Eleventh Amendment provides sovereign immunity to the States and its employees

  acting in their official capacity. Because Plaintiff attempts to sue Defendants in their official

  capacities for monetary damages for decisions they made as employees of the State, such claims

  are barred by the Eleventh Amendment.

         C. Failure to Exhaust Administrative Remedies

         Plaintiff has filed suit concerning prison conditions while in the Department of

  Corrections. Plaintiff has failed to properly exhaust his administrative remedies as is required

  prior to filing suit under 42 U.S.C. §1983, his claims are therefore barred by the Prison Litigation

  Reform Act (42 U.S.C. §1997e(a)) and Perez v. Wisconsin Dept. of Corrections, 182 F. 3d 532

  (7th Cir. 1999).

         D. Mental or Emotional Damages Barred

         No Federal action may be brought by a prisoner confined in a jail, prison, or other

  correctional facility, for mental or emotional injury suffered while in custody without a prior

  showing of physical injury.” 42 U.S.C. 1997e(e). Plaintiff has not alleged that he has been

  physically harmed by Defendants in any way.

         E. Injunctive Relief Barred

         The injunctive relief requested by Plaintiff is overbroad rather than narrowly tailored and

  is barred by the Prison Litigation Reform Act.




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         WHEREFORE, Defendants, KIMBERLY BUTLER, JACQUELINE LASHBROOK

  (Official capacity only), and MONICA NIPPE request this Honorable Court enter judgment in

  their favor and for any other relief this Court deems just and proper.



                                                Respectfully Submitted,

                                                KIMBERLY      BUTLER,     JACQUELINE
                                                LASHBROOK, and MONICA NIPPE,

                                                        Defendants,

  R. Levi Carwile, #6317375                     LISA MADIGAN, Attorney General
  Assistant Attorney General                    State of Illinois
  500 South Second Street
  Springfield, IL 62701                                 Attorney for Defendants,
  (217) 557-0261 Phone
  (217) 524-5091 Fax                            By: s/ R. Levi Carwile
  Email: rcarwile@atg.state.il.us                  R. Levi Carwile
                                                   Assistant Attorney General




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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                EAST ST. LOUIS DIVISION

  JESSE GUTHRIE, #M-29282,                     )
                                               )
                 Plaintiff,                    )
                                               )
         -vs-                                  )        No. 17-CV-1372-NJR
                                               )
  KIMBERLY BUTLER et al.,                      )
                                               )
                 Defendants.                   )

                                  CERTIFICATE OF SERVICE

          I hereby certify that on April 16, 2018, the foregoing document, Answer, was
  electronically filed with the Clerk of Court using the CM/ECF system which will send
  notification of such filing to the following:

                                               NONE

  and I hereby certify that on the same date, I caused a copy of the same to be mailed by United
  States Postal Service, in an envelope, properly addressed and fully prepaid, to the following non-
  registered participant:

                                     Jesse Guthrie, #M-29282
                                    Menard Correctional Center
                                       Inmate Mail/Parcels
                                       711 Kaskaskia Street
                                           PO Box 1000
                                        Menard, IL 62259


                                                        s/ R. Levi Carwile
                                                        R. Levi Carwile, #6317375
                                                        Assistant Attorney General
                                                        General Law Bureau
                                                        Office of the Attorney General
                                                        500 South Second Street
                                                        Springfield, IL 62701
                                                        (217) 557-0261 Phone
                                                        (217) 524-5091 Fax
                                                        rcarwile@atg.state.il.us




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